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                                U NITED STA TES DISTR IC T C O UR T
                                SO U TH ER N DISTRIC T O F FL O R ID A

                                      CaseNo.19-20178-CR-CM A
     U N ITED STA TES O F AM ERICA



     R O BER T SH A PIR O ,

                           D efendant.
                                                  /

                                 STIPULATED FXCTUAL PROFFER

          W ere this case to proceed to trial,the defendant,RobertShapiro IGtSI-IAPIRO''orthe
     dr efendanf') and the United States ofAmerica agree thatthe Governmentwould prove the
     following factsbeyond areasonabledoubt.Thepartiesagreethatthefollowing factsaretrueand

     arenotallofthe factsknown tothepartiesregarding thism atter.

                O ffenseConduct:Count1 (Conspiracv to Com m itM ailFraud and W ireFraud)


            SHAPIROac
                    lmitsthat,frominoraroundJuly2012,throughinoraroundDecember2017,                       W
     in M iami-Dade,Broward,and Palm Beach Cotmties,in the Southem Distdct ofFlorida,and

 ,   elsewhere,hedidwillfullyconspirewith otherstoknowinglyandwiththeintentto defraud,devise,

     and obtain money and property by means of materially false and fraudulent pretenses,

     represent>tions,and prom ises,knowing thatthe pretenses,representations,and promijes were

     false and fraudulent when m ade, and for the plzrpose of executing such schem e and artifice to

     defraud,did knowingly causeto be delivered certain m ailmatterand did knowingly transmitand

     cause to be transm itted in interstate and foreign com
                                                          ' m erce,by m eans of w ire com m tm ication,

     certainwritings,signs,signals,picttlres,inviolationof18U.S.C.jj1341and1343,
                                                                               .al1inviolation
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  of18U.S.C.j 1349.
      /

          The pup ose of the conspiracy was for SHAPIRO and llis co-conspirators to defraud

  investors and obtain m oney and propel'ty by m aterially false and fraudulent pretenses,

  representations,andpromisesin connectionwith the saleofpromissorynotesand units,by:(a)
  soliciting and causing others to solicit m illions of dollars in investor funds under false and

  fraudulentpretenses,representations and promises,
                                                  '(b)intentionally failing to utilize investor
  flmds and assets in the mannerthatthey,their co-conspirators and others had promised'
                                                                                      ,(c)
  m isappropriating and converting investor ftm ds fortheir own benefitand the benefit ofothers

  withoutthe knowledge and authorization ofthe investors;and (d)making false statementsand
  engaging in otherfraudulentactivitiesdesigned to concealthecomm ission oftheoffense.

          Defendant SHM IRO was the owner, president, and chief executive offcer of
  W ooébridge.l ThroughtheRS Tnzst,whichwascontrolled by SHAPIRO,hecreatedanetwork


  1       Asused herein,&çW oodbridge''collectively refersto al1ofthebelow entities.

          1. W oodbridge Group of Companies, LLC (d/b/a W oodbridge W ealth) (the
  G'W oodbridge Group ofCompanies'')wasa Sherman Oaks,Califom ia-based financialservices
  com pany fonned in 2014.

         2.      W oodbridge M ortgage Investm ent Ftm d 1, LLC, W oodbridge M ortgage
                                                                                                    &
  Investm entFund 2,LLC,W oodbridgeM ortgagelnvestm entFund 3,LLC,W oodbridgeM ortgage
  lnvestm elit Fund 3A, LLC, W oodbridge M ortgage lnvestm ent Fund 4, LLC, W oodbridge
  Comm ercialBridgeLoan Ftmd 1,LLC,and W oodbridge Comm ercialBridgeLoan Ftmd 2,LLC
  (collectively,tGW oodbridgeFund Companies'')wereDelawarecompaniesformedbetween 2010
  alzd 2015,al1ofwhich w ere created to acton behalfofW oodbridge.
                                                         *

          3.     W M FM anagement,LLC (G$W M F'')wasaCalifom iacompanyformedin2012and
  created to acton behalfofW oodbridge.

          4.     W oodbridge Structured Ftmding,LLC,a/k/a W oodbridge Stnzctured Funding of
  Florida,LLC,(GiW SF'')wasaDelawarecompanyformedin 2009andcreatedtoacton behalfof
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  ofmorethan270limitedliabilitycompanies(theGERSTrustLLCs'')thatwereusedtofuMherthe
  fraud,aswellasto m ask SHA PIRO'Srole in it. Ata11timesduring the conspiracy,SHAPIRO

  controlled W oodbridge and the R S TrustLLCS'bank accotmts and corporate m anagem ent,and

  wasthe sole signatory on a1lofW oodbridge's bank accounts. SHAPIRO signed thousands of

  checkstoinvestorsand employees,aswellasto externaland intem alsalesagents,andpersonally

  directedtransfersofpaym entstoandfrom W oodbridge'saccounts.In additiontotheW oodbridge

  entitiesandRS TrustLLCS,SHAPIRO established and controlled additionalcop orate entitiesin

  the nam e ofhiswife,J.S.,and atSI-
                                   IAPIRO'S direction his wife established bank accounts for

  those entities. These entities included:3X A Chatnn LLC ;Archw ay M asters Construction LLC ;

  Beem an Studio City LLC ; Carbondale Basalt Ow ners LLC ; Carbondale Prim rose Venm res;

  Com m ercialBridge Lending;D avana Primrose V entures LLC;D avana Sherm an O aks Ow ners

  LLC;204 Derby AveLLC;Directlnsurance Source LLC;ln Trend Staging LLC;Golden M esa

  VenturesLLC;Golden Primrose VenturesLLC;JS Fam ily Trust;M esa Glen EnterprisesLLC;

  M idland Loop Entep rises LLC;M oorpark Boca Funding LLC; Reliance M arketing Solutions




  W oodbridge.                                                                                    V
         5.      W oodbridgeRealtyofColorado(tEW oodbridgeRealtf'lwasaColoradocompany
  form ed in 2014 and created to acton behalfofW oodbridge.

         6.      M ercerVine,Inc.(lsM ercerVine'')wasa Californiacorporation formed in 2014
  and created to acton behalfo
                             'fW oodbridge.

        7. RiverdaleFtmding,LLC (GEltiverdale'')wasaDelawarecorporationformedih2012
  andcreatedto actonbehalfo?W oodbridge.
         8. RSProtectionTrust(CGRSTrusf'lwascreatedtmderNekada1aw in2013andserved
  asaholdingtrustfortheassetsofW oodbridge,W M F,W SF,andapproximatelytwù-hundredand
  seventy-two(272)otherW oodbridgeassociatedDelawareand Colorado companies.
                                               3
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  LLC;Riverdale Funding LLC;Schwartz M edia Buying Company LLC;Seaview M oorpark Real

  Estate lnvestm entLLC;Settlem entDepotLLC;Sllmm itSherman Oaks LLC;and StoverReal

  Estate Partners LLC. SH APIRO also used the accotmts established in these entities'nam es,as

  w ellasin J.S.'S nnm e,forhis own use and benefit.

         SH A PIRO supervised and m anaged a11ofthe em ployeesatW oodbridge including,butnot

  lim ited to,co-conspirators w ho w orked atW oodbridge. SH A PIR O setand approved em ployee

  salaries,oversaw employee hiring and firing,and wasthe sole chiefexecutive responsible for

  W oodbridge.

       SHA PIR O and hisco-conspirators created various W oodbridge investm entopporplnities in

  order to raise m oney. During the conspiracy, SHAPIRO and his co-conspirators, through

  W oodbridge,pdmarilysold'
                          twotypesofinvestmentstoinvestors:(a)short-term promissorynotes
  thatpurportedly paid investorsm onthly interestthat W oodbridge described as a FirstPosition

  CommercialM ortgage(GTPCM '');and (b)unitofferingswithfive-yearterms(CTundOfferings'')
  thatwere sold to investors that also falsely and fraudulently claiined to p'

  paym ents. SI-
                                                                             ay investors interest

               IAPIR O and his co-conspirators m isleadingly claim ed thatthese investm ents w ere
                                                                                                     &
  adequately secured by realproperty owned bythird-party borrowers,and thussafe.

       From in oraround August2012 through in oraround December2017,W oodbridge raised

  approxim ately $1.29 billion from approxim ately 10,000 investors across the United States.

  W oodbridge àolicited theseinvestors,and promoted investm entsin FPCM and Flmd Offerings,at

  SHA PIRO 'S direction,through various m eans,including telem arketing;a nationwide netw ork of

  htm dreds ofextem alsales agents;radio,television,and new spaperadvertisem ents;socialm edia;

  websites;au.
             d conferences. W oodbridge,at SH APIRO 'S direction,instructed investors to m ake
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  paymentsfortheinvestmentsby:(a)transfeningftmdselectronically viainterstatewirestobank
  accountsSHAPIRO controlled;or(b)mailingcheckstoW oodbridge'scorporateoffices.
       SHAPIRO approved, and agreed to pay,comm issions to intem al sales employees and

  extem alsalesagentsbased upon thevolum e ofsalesoftheqforementioned investments. Indeed,

  SHA PIRO authorizedpaymentofmorethan $80 million in comm issionsto salesagentswho sold
  W oodbridge investm ents. These comm issionswere funded by investormoney. SHA PIRO also

  personally spoke and m etw ith certain investors in order to encotlrage them to place their funds

  with W oodbridge. M arketing materials, statem ents of former W oodbridge em ployees, and

  investors'statem entsestablish thatthe salespitchesmadeby externalsalesagents,intem alsales

  agents,and in advertising campaignswereconsistentwith SHAPIRO 'Ssalespitchestoinvestors.

       SHA PIRO and his co-conspirators caused W oodbridge to raise m oney through the FCPM

  and Fund Offeringsm arketed to investorsunderthefalseprem isethatW oodbridge'sftm dswould

  beusedtom akesecuredloanstothird-partybolw wersatfavorableloan-to-valueratios,withsuch
                                                                                                      &
  third-pat'ty borrowersbeing required tom akeregularm onthly interestpaym entsto W oödbridge's

  investors. For exnm ple, SHA PIRO and his co-conspirators, through W oodbridge, m islead

  investors by representing that: (a) W oodbridge's successful acquisition, development, and
  managem ent of real estate generated sufticient profits to pay the interest rate W oodbridge

  promisedtoinvestors;(b)investorswouldhaveaçfrst-position''ontherealproperty selwingas
  collateralon the loan;and (c)thethird-party borrowerswere bona-fide commercialproperty
  ownerswho couldnotobtain traditionalloansakdwerewillingtopayW oodbridgehigherinterest
  ratesfor short-term financing.

       In reality,SHA PIRO caused W oodbridge to purchase realproperties through the RS Trust
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  and otherentitiesthathecontrolled,and hisco-conspiratorsfailed to discloseto investorsthathe

  controlled the vast majority of these properties. Contrary to representations to investors,
  SHA PIRO'S real estate portfolio failed to generate sufficient cash flow, so the SHAPIRO-

  controlled propertieswere unable to satisfy the loan obligations and interestpaymentsowed to

  W oodbridge and its investors. To make up forthe cash defciency and withoutdisclosing the

  materialrisks associated with thatgrowing deficiency,SHAPIRO diverted recently collected

  investors'ftm dstopaypurportedprofitstopriorinvestors.Asaresultofthisimproperdiversion,

  hundredsofmillionsofdollarsinvestedby new investorsw erem isusedto'
                                                                    payfalseandm isleading

  ttreturlls''to existing W oodbridge investors. Furtherm ore, particularly tow ard the end of the

  jcheme,because W oodbridge's investors overwhelm ingly loaned m oney to RS TrustLLCS and

  W oodbridge entities with no ability to pay interest or generate incom e,the nm otmt of m oney

  W oodbridge generated paled i.
                               n com parison to the am otm tthey took in from investors.             /
       SHA PIR O m ade paym ents of çlinterest'' to existing investors, w ithout regard to the

  performance of the investors' respective investm ent. For exnm ple, on certain occasions,

  SH-APIRO issued notesin respectto propertiesthatW oodbridgeneveractually acquired,including

  propertiesat778 Smboxm eRoad in LosAngelesand 53 Huron Streetin Brooklyn.N evertheless,

  investm ents were solicited from investors, and liens and security interests were purportedly

  granted to the W oödbridge Funds,to secure Etloans''relating to such properties.

       SHAPIRO diveded, and caused to be diverted,investor funds to other companies and .

  nom inee accountsthathe and J.S.controlled and used investorftm dsto pay creditcard accounts

  held in nom inees'nam es for his personaluse and benefit. SHA PIRO m isappropriated at least

  approxim ately $25 m illion to $95 million in W oodbridge investor funds to himself and his
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  imm ediate fnm ily m em bers. For example,SHAPIRO personally authorized diversion ofm ore

  than $20 million from W oodbridgebank accountstovariouscreditcardaccountsheld inthenam e
  ofhiswife,J.S. SHA PIRO used these accotmts and creditcardsto charge personalexpenses,

  including extravagant travel, art, and luxtlry furnishings. Through this process, SI-IAPIRO

  m isappropriated m illions ofdollars from W oodbridge investors.

         Dtuing the cotlrse of the conspiracy,at leasttive states,including Texas,M assachusetts,

  Arizona,Permsylvania,and M ichigan,issued cease and desistordersagainstone ormore ofthe

  W oodbridge entities based on their unregistered sale of securities. SHAPIRO and his co-

  conspirators nonetheless continued to selltheir investm entproducts to residents ofthose states,

  and engaged in deceptive conduct with respect to pending state regulatory actions against

  W oodbridge,in violation oftheceaseand desistorders.

       Atsome pointin 2017,SI-IAPIRO m ade the decision thatW oodbridge would be filing for

  banknlptcy. W ithoutdisclosing to investorsthatW oodbridge wasinsolventand on theverge of

  banknzptcy,Shapiro caused W oodbridge to collect additionalm oney from investors through the

  filing ofW oodbridge's banknlptcy in D ecem ber2017.

       Im m ediately priorto W oodbridge'sbankruptcy filing,SI-
                                                              IAPIRO diverted m illionsofdollarsto

  severalbank accounts opened in the nam e of his w ife,J.S. SI-IAPIRO used this m oney - w hich

  included fundstraceableto W oodbridge'svictim investors- to fund new businessventures,including

  com panies called (Ccom m ercial Bridge Lenders,LLC''and EtLionshare Lending,LLC,'' which he

  continued to operate forhispersonaluse and benefit.

         ln total, as a result of his crim inal conduct at W oodbridge, SH A PIR O and his co-

  conspiratorsconvinced morethan approxim ately 9,000 investorsto investmorethan $1.29billion
  in W oodbridge. A s a resultofthe fraud,m ostofW oodbridge's investorslostm oney,w ith total
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  losses likely to exceed atleastone hundred m illion dollars.

     II.     Offense Conduct:Count10 (Evasion ofPavm entofFederalIncom eTaxes)
         From in oraround January 2002 through thepresent,in Brow ard Cotmty,in the Southem

  DistriètofFlorida,and elsewhere,SHAPIRO willfully attempted toevadeand defeatthepaym ent

  ofincom etax dueand owing byhim totheUnited StatesofAm erica,forthe calendaryears2000,

  2001,2002,2003,2004,2005,with totaltax dueand owingofatleastapproximately $6,061,134.
  SHAPTRO acknowledges and agrees thathe evaded payldentofiniome tax due and owing by

  committingthefollowingaffirmativeacts,amongothers:(a)filingfalseandfraudulentIRSForms
  1040,U.S.IndividualIncom eTax Returns,with theIRS tmderstating histotalincom eandtax due

  andowing;(b)creatingRSTrustintheStateofNevadaonoraboutJtme25,2013,toconcealhis
  assetsand income'
                  ,(c)transfening approximately $60,537,176from RS Trusttonomineebank
  accountscontrolledbyhim;(d)creatingandusingnomineeom lerbnnkaccountstopaypersonal
  expensestotalingm orethan approxim ately $27,331,075,includingthepurchaseandrenovation of

  hishome,luxuryairlinetravel,wine,entertainment,luxtuy vehicles,andjewelry;and(e)filinga
  falseand fraudulentIRS Form 656-1.,çlofferin Compromise(DoubtAsTo Liabilitylr''withthe
  1RS in Plantation Florida,on oraboutM arch 13,2017,w herein he
                                                              .
                                                              1
                                                                 lied abouthis physicalhom e
                                                                 .




  addressonthesignedform tmderpenaltyofperjtlry.
         SHAPIRO'S incom e tax returns for2000 through 2005 failed to accurately disclose llis

  incom e. SHAPIRO significantly tmderreported income,and for tax years 2001 through 2003,

  showed $0 in taxesdue and owing. SHXPIRO inpartcorrectedwhathehadreported,andhas

  madesomepayments;yettothisdaystillfailedtopaythevastmajorityoftaxesdue'
                                                                        andowing.
         SHAPIRJ
               O admitsthathewasawareofhistaxliability,includingnotonlythetaxesdue

                                                  8
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  and owing,butalsopenalties,assessments,and interestduetotheIRS,and willfully chosenotto

  m ake paym entto the IR S.

                                         A RIAN A FA JAR D O OR SH AN
                                         UN IT            A     RN EY

  Date:                   9              By:
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                                              SISTAN . ITED STA TES ATTO RN EY

  oate, $ r           .                  By:
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  D ate: OW KC        ra                 By:           -
                                             RYA        IGHT O'QU       ,ESQ.
                                             EL       ER H ON 1,E S .
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                                            ROBERT S        IR O ,DEFEN D AN T




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